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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

JOHN LLAMAS,                               )
     PLAINTIFF,                            )
                                           )
VS.                                        )      CIVIL ACTION NO.:
                                           )
PORTFOLIO RECOVERY                         )      4:10-cv-816
ASSOCIATES, LLC                            )
    DEFENDANT.                             )

                      PLAINTIFF’S NOTICE OF SETTLEMENT

          COMES NOW Plaintiff John Llamas, and for his Notice of Settlement

states:

          1.    On May 6, 2010, the parties agreed to a settlement in the above-

captioned matter.

          2.    Plaintiff anticipates that the necessary Releases and other

settlement documents will be exchanged by the parties, and a Notice of

Voluntary Dismissal will be filed on or before May 21, 2010.

          WHEREFORE, Plaintiff prays this Court for an Order passing this matter

for settlement, and allowing the parties an extension up to and including May 21,

2010 in which to file a Notice of Dismissal after the Settlement is affected, and for

any other relief this Court deems just and proper.
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05/6/2010                                THE SWANEY LAW FIRM
Dated
                                         /s/ Robert T. Healey
                                         Robert T. Healey
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                          CERTIFICATE OF SERVICE

The undersigned hereby certifies that he has filed a true and accurate copy of the
Motion to Pass for Settlement with the Court’s ECF filing system this 6th day of
May 2010.

                                         /s/ Robert T. Healey
